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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                             District of New Mexico


               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                       )
           or identify the person by name and address)                        )              Case No.   MR 24-1295
                                                                              )
                  6015 Iliff Rd NW Room 258                                   )
               Albuquerque, New Mexico 87121                                  )

    APPLICATION             FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC                                                     MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A, which is attached              hereto and incorporated         herein.

located in the                                    District of                N_e_w_M_e_x_i_c_o            , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, which is attached              hereto and incorporated         herein.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~ evidence of a crime;
                 ~ contraband,       fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing                    a crime;
                 o a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
               Code Section                                                                 Offense Description
        18 U.S.C. §§ 922(g)(1); 924       FIP; Possessing a Firearm in Furtherance of Drug Trafficking Crime; Possession
        (C); 21 U.S.C. §§ 841 (a)(1);    with Intent to Distribute a Controlled Substance; Conspiracy to Distribute a
        846                               Controlled Substance
          The application is based on these facts:

        See attached     affidavit

          .~    Continued    on the attached sheet.
           o Delayed notice of __         days (give exact ending date if more than 30 days:                                  ) is requested under
                18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                                Jennifer Lopez, FBI Special Agent
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
    electronically signed and telephonically sworn     (specify reliable electronic means).


Date:    07/10/2024
                                                                                                          Judge's signature

City and state: Albuquerque,         New Mexico                                             Jennifer M. Rozzoni U.S Judge Magistrate
                                                                                                        Printed name and title
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               AFFIDAVIT    IN SUPPORT        OF AN AP])LICATION        FORA SEARCH WARRANT



L Jennifer Lopez, being duly sworn, do hereby depose and state as follow:

                           INTRODUCTION          AND PURPOSE         OF THE AFFIDAVIT


          1.         I am a Special Agent with the Federal Bureau of Investigation (FBI) and am recognized as

a "federal law enforcement officer" within the meaning of Rule 41 of the Federal Rules of Criminal

Procedure.       I am submitting this affidavit in support of a search warrant for the premises associated with

JOSE GONZALEZ              a.k.a. "COCHINO,"       located at room 258 at the Motel 6, 6015 Iliff Rd NW,

Albuquerque, New Mexico 87121, (hereinafter "Subject Premises") for firearms, narcotics, and evidence

of illicit firearms and narcotics possession in violations of 18 U.S.C. § 922(g)(l): Felon in Possession ofa

Firearm, 18 U.S.c. § 924(C): Possessing a Firearm in Furtherance of Drug Trafficking Crime, 21 U.S.c. §

841(a)(l): Possession with Intent to Distribute a Controlled Substance and 21 U.S.C. § 846: Conspiracy to

Distribute a Controlled Substance (hereinafter the "Target Offenses").

          2.        Hereinafter, I may refer to the aforementioned location as the "Subject Premises" and the

subject as "GONZALEZ."            Based on the evidence obtained in this investigation, and as described herein, I

believe there       is probable    cause to believe    the Subject    Premises   contains   evidence,   fruits, and

instrumentalities of the Target Offenses.

          3.        The Subject Premises to be searched has been described in Attachment A, which has been

attached hereto and incorporated herein by reference. The particular evidence, fruits, and instrumentalities

to be seized by agents are set forth in Attachment B, which has been attached hereto and incorporated

herein.

          4.        This affidavit does not set forth all of my knowledge or summarize all of the investigative

efforts in this matter; however, the affidavit sets forth only the facts that support probable cause to search

the Subject Premises as relevant background information. All figures, times, and calculations set forth

herein are approximate. Any observations referenced herein that I did not personally witness were relayed

to me in oral or written reports by law enforcement              officers who assisted in the investigation     of

GONZALEZ.
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                        AFFIANT'S     RELEVANT TRAINING           AND EXPERIENCE


         5.        J am employed as a Special Agent with the FBI and have been a law enforcement officer

for more than 4 years.      I am assigned to the FBI Albuquerque Field Office, Violent Gang Task Force

(VGTF), where I primarily investigate violent street gangs, violent repeat offenders and criminal enterprises

engaged in violations of the Controlled Substances Act, firearms violations, murder, racketeering and other

violations of Federal law.      My investigative   training and experience    include, but is not limited to,

interviewing subjects, targets, and witnesses, writing affidavits for and executing search and arrest warrants,

collecting evidence, conducting surveillance, and analyzing public records.       I was a police officer before

joining the FBI.

        6.         Over the course of my career, r have arrested numerous persons for offenses relating to

drug possession and distribution, driving while intoxicated and or driving under the influence (DWIIDUI),

firearm violations, assaults and other criminal conduct.

        7.         Through my training and experience, I am familiar with the methods and means used by

individuals, drug trafficking organizations ("DTO"s), and gang/criminal enterprises to purchase, transport,

store, and distribute controlled substances and firearms. I am also familiar with how those individuals and

organizations hide the substantial profits generated from their criminal activities. I have learned that these

individuals often keep firearms in close proximity to themselves, and their product and proceeds, to protect

them from other drug traffickers and law enforcement.

        8.         I know that firearms are tools of the trade and instrumentalities     of the crime of drug

trafficking, particularly in instances involving subjects who have committed prior violent crimes and/or

firearms violations. It has been my experience that criminals who illegally possess firearms often do not

part with such firearms, as it may be difficult for criminals to acquire them. I know that gang members

often possess firearms on or near their person, in their vehicles and residences. I know that individuals who

are prohibited from possessing firearms know they are not allowed to possess those firearms, therefore they

will secrete those firearms within their vehicles, outbuildings, or residences.
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        9.       Based on my experience, I am aware gang/criminal enterprises and DTOs utilize cellular

telephones to exchange information, photographs, and felonious communications, to include the names and

locations of informants, witnesses, and victims. I have also observed gang members discuss the acquisition

and distribution of controlled substances and firearms to and from other members, as well as discussions

about gang related assaults.

        10.      I know from my training and experience, as well as from information found in publicly

available materials published by device manufacturers, that many electronic devices, particularly newer

mobile devices and laptops, offer their users the ability to unlock the device through biometric features in

lieu of a numeric or alphanumeric passcode or password. These biometric features include fingerprint

scanners, facial recognition features and iris recognition features. Some devices offer a combination of

these biometric features, and the user of such devices can select which features they would like to utilize.

        11.      In my training and experience, individuals involved in gang/criminal enterprises and DTOs

work hard not to get caught, including continually assessing who they think is cooperating with law

enforcement and how to protect themselves from those people. These individuals seek out information

tending to expose government        informants   and share that information    with other members of the

organization for the common good of the enterprise. I know that gang/criminal enterprises and members of

DTOs strive to have a reputation of retaliation against informants or intimidation against government

officials. I have learned that individuals involved in gang/criminal enterprises and DTOs often utilize their

cell phones to communicate with others regarding suspected informants or government officials. I have also

learned that gang/criminal     enterprises and members of DTOs will research government officials in an

attempt to ascertain their identity and the locations of their residences, in that they may search for this

information on the cellular devices.

        12.      Based upon my training, experience, and participation in the instant investigation, as well

as the investigation of other gang/criminal enterprises and DTOs, I am aware of the following information.

         a.   Individuals engaged in the type of criminal conduct constituting the Target Offenses maintain
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                documents, letters and records relating to their illegal activities for long periods of time. This

                documentary evidence is usually secreted in their place of residence, or the residences of

                family members, friends, or associates, in their business locations, or in stash houses. This

                documentary    evidence includes telephone numbers, address books, travel receipts, notes

                referencing aliases or coded names, false identification, money order receipts, money orders,

                money remittance receipts, pre-paid money cards such as, MoneyPak, Wal-Mart, Green Dot,

               or other debit cards, bulk U.S currency, money collection logs, such as "tally" sheets, drug

                load sheets, shipping/mailing      receipts, detention facility inmate number lists or addresses for

                inmates or detention facilities.

          b.   I know that members and associates of gang/criminal enterprises and OTOs have access to

               numerous cellular phones, often at the same time, in an effort to avoid law enforcement

               monitoring. I have observed gang members, who are involved in drug trafficking, routinely

               use pre-paid phones requiring no subscriber information, or fictitious subscriber names, to

               advance their unlawful activities. These cellular telephones often contain names and phone

               numbers of other co-conspirators,         text messages utilized to further their illicit activities,

               photographs and videos of gang members, controlled substances, drug proceeds, or firearms.

               Members of gang/criminal enterprises and OTOs often use the same strategy to mask their

               ownership of vehicles, real property, and utility services, in an effort to avoid detection by law

               en forcement.

         c.    In addition, I am also familiar with the use of text messaging, instant messaging, social media,

               and other messaging applications, used by gang/criminal enterprises and OTOs to advance

               their unlawful activities.

        13.       I have learned individuals involved in gang/criminal enterprises and OTOs possess items

of identification, including but not Iimited to, driver's Iicenses, rent receipts, bills, and address books. These
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items may be relevant to the identity of those involved in the criminal enterprise, the possessor of the items

seized, and occupants of the premises searched.

                                ELECTRONIC MEOlA AND FORENSIC ANALYSIS


14.     As described above and in Attachment B, this application seeks permission to search for evidence

and records that might be found on the Subjects persons and at the Subject Premises, in whatever form they

are found. Much of the evidence and records described in the paragraphs above, and in Attachment B, can

also be produced and/or stored a cell phone. For this reason, I submit that if a cell phone is found on the

Subject Premises, there is probable cause to believe those records will be stored on that cell phone. Thus,

the warrant applied for would authorize the seizure of electronic media or, potentially, the copying of

electronically stored information, all under Rule 41 (e)(2)(B).

IS.     The warrant]      am applying for would permit law enforcement to obtain from GONZALEZ the

display of physical biometric characteristics     (such as fingerprint, thumbprint, or facial characteristics) in

order to unlock devices subject to search and seizure pursuant to this warrant. I seek this authority based on

the following:


        a.    I know from my training and experience, as well as from information found in publicly

              available   materials   published   by device manufacturers,     that many electronic     devices,

             particularly newer mobile devices and laptops, offer their users the ability to unlock the device

              through biometric features in lieu of a numeric or alphanumeric passcode or password. These

              biometric features include fingerprint scanners and facial recognition features. Some devices

              offer a combination of these biometric features, and the user of such devices can select which

              features they would like to utilize.

        b.   If a device is equipped with a fingerprint scanner, a user may enable the ability to unlock the

             device through his or her fingerprints. For example, Apple offers a feature called "Touch ID,"

             which allows a user to register up to five fingerprints that can unlock a device. Once a

              fingerprint is registered, a user can unlock the device by pressing the relevant finger to the
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       device's Touch ID sensor, which is found in the round button (often referred to as the "home"

       button) located at the bottom center of the front of the device. The fingerprint sensors found on

       devices produced by other manufacturers have different names but operate similarly to Touch

       ID.

c.     If a device is equipped with a facial recognition feature, a user may enable the ability to unlock

       the device through his or her face. For example, Apple offers a facial recognition feature called

       "Face ID." During the Face ID registration process, the user holds the device in front of his or

       her face. The device's camera then analyzes, and records data based on the user's facial

       characteristics. The device can then be unlocked if the camera detects a face with characteristics

       that match those of the registered face. Facial recognition features found on devices produced

       by other manufacturers have different names but operate similarly to Face ID.

d.     In my training and experience, users of electronic devices often enable the aforementioned

       biometric features because they are considered to be a more convenient way to unlock a device

       than by entering a numeric or alphanumeric         passcode or password.      Moreover, in some

       instances, biometric features are considered to be a more secure way to protect a device's

       contents. This is particularly true when the users of a device are engaged in criminal activities

       and thus have a heightened concern about securing the contents of a device.

e.    As discussed in this affidavit, based on my training and experience 1 believe that one or more

       digital devices will be found during the search. The passcode or password that would unlock

      the device(s) subject to search under this warrant is not known to law enforcement. Thus, law

      enforcement    personnel may not otherwise be able to access the data contained within the

       device(s), making the use of biometric features necessary to the execution of the search

      authorized by this warrant.

f.    I also know from my training and experience, as well as from information found in publicly

      available materials including those published by device manufacturers, that biometric features
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      will not unlock a device              in some circumstances          even if such features       are enabled.    This can

      occur when a device has been restarted,               inactive,     or has not been unlocked        for a certain period

      of time. For example,          Apple devices       cannot be unlocked          using Touch ID when (1) more than

      48 hours has elapsed           since the device was last unlocked              or (2) when the device has not been

      unlocked       using a fingerprint        for 4 hours and the passcode         or password      has not been entered in

      the last 156 hours. Biometric             features from other brands carry similar restrictions.              Thus, in the

      event law enforcement           personnel     encounter     a locked device equipped           with biometric     features,

      the opportunity         to unlock     the device through       a biometric        feature   may exist for only a short

      time.

g.    In my training         and experience,       the person who is in possession            of a device or has the device

      among       his or her belongings          at the time the device        is found      is likely a user of the device.

      However,       in my training       and experience,       that person may not be the only user of the device

      whose       physical    characteristics      are among      those    that will unlock        the device     via biometric

      features,     and it is also possible       that the person in whose possession              the device is found is not

      actually     a user of that device at all. Furthermore,             in my training and experience,          I know that in

      some cases it may not be possible               to know with certainty          who is the user of a given device,

      such as if the device           is found      in a common         area of a premises          without     any identifying

      information      on the exterior       of the device. Thus, it will likely be necessary            for law enforcement

     to have       the ability     to require      any individual,        who is found       at the Subject       Premises     and

      reasonably      believed     by law enforcement        to be a user of the device, to unlock the device using

     biometric       features in the same manner as discussed               above.

h.   Due to the foregoing,          iflaw    enforcement     personnel      encounter     a device that is subject to search

     and seizure       pursuant     to this warrant     and may be unlocked              using one of the aforementioned

     biometric       features,    the warrant]      am applying      for would permit law enforcement              personnel    to

     (1 ) press or swipe the fingers (including             thumbs) of any individual,            who is found at the Subject
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                  Premises and reasonably believed by law enforcement to be a user of the device, to the

                  fingerprint scanner of the device; (2) hold the device in front of the face of those same

                  individuals and activate the facial recognition feature, for the purpose of attempting to unlock

                  the device in order to search its contents as authorized by this warrant.

                                                   THE SUBJECTS

        16.            JOSE GONZALEZ,        aka: "COCHINO":      I have reviewed GONZALEZ's,       be consistent

throughout, criminal history and I am aware that he has been arrested at least 23 times in New Mexico and,

according to the New Mexico Secure online court records, he has been convicted of the following felony

offenses:

                  a.   Possession of cocaine with intent to distribute, on November 08, 2010, Case No: 0-202-

                       CR-20 10-05472;

                  b.   Aggravated assault (Deadly Weapon), on June 27,2011, Case No: D-202-CR-2011-02941;

                  c.   Criminal Damage to property (over $1 000), on March 13,2012, Case No: D-202-CR-2012-

                       01221;

                  d.   Battery upon a Peace Officer, on June 22, 2016, Case No: D-202-CR-20 16-01934;

                  e.   Receiving or Transferring Stolen Motor Vehicles, on August 31, 2018, Case No: 0-202-

                       CR-2018-03108;

                  f.   Criminal Damage to Property (Over $1000). on October 19, 2018, Case No: D-202-CR-

                       2018-03644;

                  g.   Theft of a Credit Card, on October 23,2018, Case No: D-202-CR-2018-03676;

                  h.   Battery upon a Peace Officer, on November 20, 2018, Case No: D-202-CR-2018-03994;

                       and

                  I.   Breaking and Entering, on June 11,2021, Case No: D-202-CR-2021-0II63.

            17.        SERGIO GRANDARA           JR, aka: "RISK":     I have reviewed GRANDARA's          criminal

history, and he has been arrested at least seven times for aggravated battery, murder in the first degree,
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tampering with evidence conspiracy, trafficking controlled substances, abuse of a child and possession of

drug paraphernalia.      GRANDARA       also has a felony conviction    for harboring or aiding a felon of

12116/2010.

                                        THE CURRENT INVESTIGATION

                                   STATEMENT      OF PROBABLE       CAUSE


        18.        In late January 2024, VGTF agents received information that GONZALEZ was living at a

residence     in Southwest Albuquerque,      where he stored    firearms   and trafficked   narcotics. Agents

subsequently conducted surveillance at GONZALEZ's         residence and observed him go in and out of the

residence. Agents also observed GONZALEZ's          vehicle, a blue Mitsubishi lancer license plate BCJR32,

parked in the driveway on multiple occasions, including the day before the below described search warrant.

        19.        On January 31, 2024, at approximately 0600 hours, members of the FBI, including the

VOTF and Metropolitan          Detention Center (MDC) Security Threat Intelligence Unit (STIU) officers,

executed a search warrant at GONZALEZ's          residence, located at 10115 Range Road SW Albuquerque,

NM 87121. The warrant authorized agents to search for evidence of 21 U.S.c. § 841(a) distribution and

possession with intent to distribute a controlled substance; 21 U.S.C. § 846 conspiracy to distribute

controlled substances; 18 U.S.C. § 924( c) possession of a firearm in furtherance of a drug trafficking crime;

and 18 U.S.C. § 922(g)(l) possession of a firearm by a convicted felon.

        20.        During the search of the location, the following items were seized from the subject

premIses:

              A. Approximately $34,000 in US currency;

              b.   Sig Sauer model P320 M 17 pistol, in 9mm caliber, serial number M 17-120813 (later found

                   .stolen per NCIC);

              c.   Sig Sauer model P229 Elite pistol, in 9mm serial number 55B005967 (later found stolen

                   perNCIC);

              d.   Rock Island Armory model RIA pistol, in .45 caliber, serial number RIA1713002;
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                 e.     Jiminez      Arms Inc model JA380 pistol, in .380 caliber,           serial number    289277      (later found

                        stolen per NCIC);

                 f.     Springfield     Armory     Model    Saint AR-15, in .223/.556      caliber,   serial number:    ST436567;

                 g.     AR-15 style suspected           machine   gun, in .223 caliber, with no serial number;

                 h.     A large box of green leafy substance,          suspected    marijuana;

                 I.     Multiple      documents     with GONZALEZ's         name;

                 J.     Clothing      belonging    to GONZALEZ,        located in the master bedroom;

                 k.     Ammunition;        and

                 I.     A bag with blue pills marked           M30 that, when field tested, yielded        a presumptive      positive

                        result for fentanyl.

           21.          I later caused a search of the ATF National            Firearms    Registry   for seized item "g" and the

ATF emailed           back and the result is that GONZALEZ             and the firearm were not registered       with the National

Firearms    Registry.          I also sent the firearms    to the laboratory   for DNA swab and firearm         function testing. I

intend to obtain         a DNA search         warrant     to obtain a DNA sample          from GONZALEZ         to compare      to the

firearms seized on January 31, 2024.

           22.          Within      the last week,      I received   information    from the Metropolitan       Detention      Center

Security Threat Intelligence            Unit (MDC STIlJ) that they had intercepted           a video call wherein GONZALEZ

was a participant.         STIU officers      provided     a copy of the jail call, which was recorded         on July 7, 2024 at

approximately          1655 hours, to VGTF agents.

           23.          I watched      the video call, screen shots from the video call are contained            in the pages that

follow and observed              GONZALEZ         was no longer at the residence      on Range Road because            he was having

problems     with his significant         other. During      the video call, GONZALEZ            is seen inside the bathroom      of a

motel room holding              a pipe in his mouth and smoking          from a sheet of foil. At that point, the inmate told

GONZALEZ,             "stop,     fool take that shit off that shit Cochino,         stop fool. What the fuck" At that point

GONZALEZ              removed      the pipe and foil sheet from the camera            and gives the phone       over to SERGIO
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GRANDARA,             aka ·'Risk." After a few minutes,         GONZALEZ          then walks outside of the motel room where

I was able to capture          room 258, the number      of the room he was coming out of.

            24.        I believe   the room GONZALEZ              was in on the video call with the inmate              was Subject

Premises.      Screen shot pictures        from the video call are included        below.




                                                     Jail call photos of Gonzalez

         25.           On July 8, 2024, VGTF          surveillance    units observed        2 unknown     males (UM 1 and UM2)

make short duration         stops at room 258. UMI was a white male wearing all black with a backpack                           on who

walked into the Motel 6 parking             lot from Coors Blvd. UM I walked along the east side parking                  lot up the

stairs and stops outside the door of room 258. UM I waited outside by the door for approximately                           1 minute,

made   a hand-to-hand           exchange      from   someone      inside   the room     and    left. Through      my training      and

experience,       short duration   stops, and hand-to-hand        exchanges   are characteristics        of drug trafficking.    UM I

then walked out of the front office doors and continued                to walk west on Coors Blvd.

         26.           UM2 appeared        to be a Hispanic     male wearing shorts and a tank top who was riding a bike.

UM2 took his bike upstairs and stopped               at the door OfroOlll 258. UM2 entered          the room for approximately

2 minutes         and exited    with an unknown        female     (UFI).   They    are both seen        leaving   the room and go

downstairs        where they split and go different      ways.
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         27.        On July 9,2024,            VGTF   surveillance   units observed     2 unknown     males CUM3 and UM4)

making short duration        stops at room 258. UM3 walked into the room while UM4 (who had a bicycle with

him) waited outside.        UM3 then comes out of room 258 and both UM3 and UM4 go downstairs                            and leave

the premises.      During     this     time,    Agents   observed    a subject      matching    the   physical    description   of

GONZALEZ         is seen exiting the Subject          Premises   and followed     UM3 and UM4 outside        onto the walkway

of room 258.




                                           Surveillance photo ofGonzaelz        at Motel 6

                                                 THE SUBJECT PREMISES

28.     The Subject     Premises       is located at 6015 JliffRd     NW, Albuquerque,         New Mexico        8712L   and may

be described    as a two-story       moteL white in color with blue doors throughout           the motel and a sign reading

"Motel 6" on the North siding of the building.             The numbers    258 are posted at the top center of the blue

door marked     with a red circle around         it. Color photographs   of Subject Premises      are contained     within
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Attachment A.


29.        Indicia of Residence:


               A. MDC STIU provided VGTF agents with a jail video call where I observed GONZALEZ

                   was no longer at the residence on Range Road because he was having problems with his

                   significant other.

               B. F rom the jail call, I also observed GONZALEZ inside the bathroom of a motel room

                   holding a pipe in his mouth and smoking from a sheet of foil 1 . GONZALEZ then walked

                   out of the bathroom and exited room 258 to talk with the inmate outside.

              C. Within the last 24 hours, VGTF surveillance units observed GONZALEZ walk .outside

                   Subject Premises and stand out on the balcony walkway.

                                                 CONCLUSION

20.     Based on the information contained herein, I submit there is probable cause for a search warrant

of the Subject Premises described in Attachment A to seek the items described in Attachment B for

evidence pertaining to violations of the Target Offenses. This affidavit was reviewed by Assistant United

States Attorney Paul Mysliwiec.

                                                                                         Respectfully submitted,



                                                                                                     Jennifer Lopez
                                                                                                  FBI Special Agent

Subscribed electronically and sworn telephonically on July 10, 2024.


JENNIFER M. RO ZZONI
UNITED STATES MAGISTRATE
JUDGE DISTRICT OF NEW MEXICO




       1
           Through my training and experience, this is a common way users can ingest narcotics.
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                                                   ATTACHMENT A

                                                    Subject Premises

The Subject Premises          is located at 6015 I1iffRd NW, Albuquerque,    New Mexico      87121, and may be

described    as a two-story     motel, white in color with blue doors throughout    the motel and a sign reading

"Motel 6" on the North siding of the building.        The numbers    258 are posted at the top center of the blue

door marked     with a red circle around     it. Color photographs   of Subject Premises   are contained   within

Attachment     A.
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                                             ATTACHMENT           B

                                              Items to be Seized

Items to be Seized: All evidence, fruits, and instrumentalities of violations of 18 U.s.c. § 922(g)(1):

Felon in possession of a firearm;18 U .S.C. § 924(C): Possessing a firearm in furtherance of drug

trafficking crime. 21 U.S.C. § 841 (a)(I): Possession with intent to distribute a controlled substance; and

21 U.S.C. § 846: Conspiracy to distribute a controlled substance to include the following:


    1. Firearms, firearm parts, magazines and ammunition;

    2. All safes or lock boxes, where evidence of the Target Offenses may be stored for safekeeping

         against seizure;

    3.   Controlled substances, drug packaging materials, and paraphernalia;

   4.    Large amounts of United States Currency and expensive jewelry;

   5.    Video surveillance hard drives or storage devices

   6. Articles of property tending to establish the identity of persons in control ofpremises,    vehicles,

         storage areas, and containers being searched, including utility company receipts, rent receipts,

         addressed envelopes, and keys. All documentation, (whether on paper or stored magnetic, digital,

         or optical media) describing discussions by any individual or entity concerning: the identity of

         persons that are involved in violations of the Target Offenses;

   7.    All documents and communications      (whether on paper or stored magnetic, digital. or optical

         media) demonstrating any communication or correspondence with any person or groups of

         persons involved in violations of the Target Offenses;

   8. All evidence related to all off-site storage units, other residences, safety deposit boxes, etc. where

         evidence of the Target Offenses may be stored for safekeeping against seizure; and

   9.    Cellular telephones and all cellular telephone records to establish ownership of the device or the

         residence.
